      Case 3:12-cr-00192-CCC        Document 1146       Filed 03/17/14    Page 1 of 9




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,

               v.                                      CRIMINAL NO. 12-192 (CCC)

 YAMIL RIOS-CARRILLO [49],

 Defendant.


                        REPORT AND RECOMMENDATION

       Defendant Yamil Ríos-Carrillo [49] was charged in Count Three of the Superseding

Indictment and he agreed to plead guilty to said count. Count Three charges that beginning

on a date unknown, but not later than in or about 2003, and continuing up to and until the

return of the instant superseding indictment, in the Municipality of Fajardo, in the District

of Puerto Rico, elsewhere, and within the jurisdiction of this Court, the defendant herein,

did knowingly and intentionally combine, conspire and agree with each other and with

diverse other persons known and unknown to the Grand Jury, to commit an offense against

the United States, that is: to possess with the intent to distribute one (1) kilogram or more

of a mixture or substance containing a detectable amount of heroin. A Schedule I Narcotic

Drug Controlled Substance; two-hundred and eighty (280) grams or more of a mixture or

substance containing a detectable amount of cocaine base (“crack”), a Schedule II Narcotic

Drug Controlled Substance; five (5) kilograms or more of a mixture or substance containing

a detectable amount of cocaine, a Schedule II Narcotic Drug Controlled Substance; and a

measurable amount of a mixture or substance containing a detectable amount of marijuana,

a Schedule I Controlled Substance, all within one thousand (1,000) feet of the real property

comprising a housing facility owned by a public housing authority, that is, the Santiago
       Case 3:12-cr-00192-CCC                  Document 1146              Filed 03/17/14          Page 2 of 9



United States of America v. Yamil Ríos-Carrillo [49]
Criminal No. 12-192 (CCC)
Report and Recommendation
Page 2

Veve-Calzada Public Housing Project, Mansion del Sapo Ward, Maternillo Ward, Quebrada

Vueltas Ward, Amparo Street also known as Calle Chiquita and other areas within and near

the Municipality of Fajardo, Puerto Rico. All in violation of Title 21, United States Code,

Section 846, 841(a)(1) and 860.

         On March 12, 2014, defendant appeared before this Magistrate Judge, since the

Rule11 hearing was referred by the Court. Defendant was provided with a Waiver of Right

to Trial by Jury, which he signed and agreed upon voluntarily after examination in open

court, under oath.

         Defendant indicated and confirmed his intention to plead guilty to Count Three of

the Superseding Indictment, upon being advised of his right to have said proceedings before

a district judge of this court.1 Upon verifying through defendant’s statement his age,

education and any relevant aspect as to the use of medication, drugs, alcohol or substance

dependency, and psychological or psychiatric condition, to ascertain his capacity and ability

to understand, answer and comprehend the interactive colloquy with this Magistrate Judge,

a determination was made as to defendant’s competency and ability to understand the

proceedings.

         Having further advised defendant of the charges contained in above-stated Count

Three, he was examined and verified as being correct that: he had consulted with his

counsel Víctor M. Chico-Luna, prior to the hearing for change of plea, that he was satisfied

with the services provided by his legal representative and had time to discuss with him all

aspects of the case, insofar, among other things, regarding the change of plea, the consent


         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
       Case 3:12-cr-00192-CCC                 Document 1146   Filed 03/17/14   Page 3 of 9



United States of America v. Yamil Ríos-Carrillo [49]
Criminal No. 12-192 (CCC)
Report and Recommendation
Page 3

to proceed before a United States Magistrate Judge, the content of the Superseding

Indictment and the charges therein, his constitutional rights and the consequences of the

waiver of same.

         Defendant was specifically apprised by this Magistrate Judge that, upon withdrawing

his initial plea of not guilty and now entering a plea of guilty to the charge specified, he was

waiving his right to a public, speedy, and a trial by jury constituted by twelve jurors who

have to unanimously agree to a verdict. He was also waiving his right to be presumed

innocent and for the government to meet the obligation of establishing his guilt beyond a

reasonable doubt. Furthermore, he was waiving his right during said trial to confront the

witnesses who were to testify against him and be able to cross-examine them, through

counsel at said trial, as well as present evidence on his behalf. He was also waiving the right

to compel the attendance of witnesses and that subpoenas be issued to have them appear

in court to testify. Defendant was specifically apprised of his right to take the stand and

testify, if he so decided, or not to testify, and no inference or decision as to his guilt could

be made from the fact if he decides not to testify. Defendant was also explained his right

not to incriminate himself; that upon such a waiver of all above-discussed rights a judgment

of guilty and his sentence were to be based on his plea of guilty, and he would be sentenced

by the judge after considering the information contained in a pre-sentence report.

         As to all the above, defendant provided an individualized and positive

acknowledgment of each and every waiver and, with the assistance of his counsel Chico-

Luna, indicated he freely and voluntarily waived those rights and understood the

consequences. During all this colloquy, defendant was made aware that he could freely
       Case 3:12-cr-00192-CCC                 Document 1146   Filed 03/17/14   Page 4 of 9



United States of America v. Yamil Ríos-Carrillo [49]
Criminal No. 12-192 (CCC)
Report and Recommendation
Page 4

request from this Magistrate Judge any additional clarification, repetition, or ask questions

and that he may consult with his attorney at any given time as to any issue.

         Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The penalty for the offense charged in Count

Three is a term of imprisonment of not less than ten (10) years or more than life, a fine not

to exceed twenty million dollars ($20,000,000.00), and a term of supervised release of at

least ten (10) years, all pursuant to Title 21, United States Code, Section 841(b)(1)(A) and

860.

         Based on the stipulated and agreed amount of narcotics possessed by the defendant,

that is, at least five hundred (500) grams but less than two (2) kilograms of cocaine, the

penalty for the offense shall be a term of imprisonment of not less than five (5) years and

not more than eighty (80) years, a fine not to exceed $10,000,000.00 and a term of

supervised release of at least eight (8) years, all pursuant to Title 21, United States Code,

Section 841(b)(1)(B) and 860.

         Defendant shall also pay a special monetary assessment of one hundred dollars

($100.00), per count of conviction.

         Having ascertained directly from defendant that he had not been induced in any way

to plead guilty, that no one had forced him in any way to plead guilty, nor that he had been

offered any reward or any other thing of value to get him to plead guilty, the document

entitled “Plea Agreement (Pursuant to Rule 11(c)(1)(A) & (B) FRCP)” (“the Agreement”) and
       Case 3:12-cr-00192-CCC                 Document 1146          Filed 03/17/14         Page 5 of 9



United States of America v. Yamil Ríos-Carrillo [49]
Criminal No. 12-192 (CCC)
Report and Recommendation
Page 5

the “Plea Agreement Supplement”2 were shown to defendant, verifying his signature and

initials on each and every page.

         Pursuant to said Agreement, and insofar as Count Three, as to which defendant

already was aware of the maximum possible penalties, defendant was apprised that it was

up to the sole discretion of the sentencing court what the sentence to be imposed on him

will be. Defendant was specifically informed that if the sentencing court were to impose a

sentence which turned out to be higher or more severe than the one he might be expecting,

for said reason alone, defendant would have no grounds for the court to allow him to

withdraw his plea of guilty.

         The defendant is aware that the Court may, pursuant to Section 5E1.2 of the

Sentencing Guidelines Manual, order the defendant to pay a fine sufficient to reimburse the

government for the costs of any imprisonment, probation or supervised release ordered and

also the Court may impose restitution.

         The above-captioned parties’ estimate and agreement that appears on page four (4),

paragraph seven (7) of the Agreement, regarding the possible applicable advisory

Sentencing Guidelines, were further elaborated and explained. The Base Offense Level is

of Twenty-Six (26) for at least 500 grams but less than 2 kilograms of cocaine. An increase

of two (2) levels is agreed for protected location. A decrease of three (3) levels is agreed for

acceptance of responsibility. Therefore, the Total Offense Level is of Twenty-Five (25),

yielding an imprisonment range of fifty-seven (57) to seventy-one (71) months assuming



          2
            Defendant acknowledged discussing the “Plea Agreement Supplement” with his counsel and stated he
understood the terms and consequences of the same. Defense counsel recognized he explained to defendant the content
of the “Plea Agreement Supplement” and explained to defendant its consequences.
       Case 3:12-cr-00192-CCC                 Document 1146   Filed 03/17/14   Page 6 of 9



United States of America v. Yamil Ríos-Carrillo [49]
Criminal No. 12-192 (CCC)
Report and Recommendation
Page 6

a Criminal History Category of I; sixty-three (63) to seventy-eight (78) months assuming

a Criminal History Category of II; seventy (70) to eighty-seven (87) months assuming a

Criminal History Category of III; eighty-four (84) to one hundred and five (105) months

assuming a Criminal History Category of IV; one hundred (100) to one hundred and

twenty-five (125) months assuming a Criminal History Category of V; and one hundred and

ten (110) to one hundred and thirty-seven (137) months assuming a Criminal History

Category of VI.

         There is no stipulation as to defendant’s Criminal History Category.

         The parties will recommend to the Court that the defendant be sentenced to serve

a term of imprisonment of sixty (60) months if his Criminal History Category is I or to the

lower end of the applicable guideline range if his Criminal History Category is higher. The

state case with criminal number NSC2009G0590 for possession of controlled substances

shall be considered relevant conduct to the instant offense.

         The parties understand that the Court is not bound by the recommendation and that

the Court, after consideration of the factors contemplated within the U.S.S.G. and Title 18,

United States Code, Section 3553 et seq., may sentence the defendant to any amount of time

up to and including the statutory maximum for the offense to which he plead, and that such

a sentence will not invalidate this agreement.

         The United States and defendant agree that no further adjustments or departures to

the defendant’s base offense level shall be sought by the parties. Any request by the

defendant for a sentence below the agreed upon of sixty (60) months or for an adjustment

or departure shall constitute a material breach of this plea agreement.
       Case 3:12-cr-00192-CCC                 Document 1146   Filed 03/17/14   Page 7 of 9



United States of America v. Yamil Ríos-Carrillo [49]
Criminal No. 12-192 (CCC)
Report and Recommendation
Page 7

         As part of the written Agreement, the government, the defendant, and his counsel

also agreed they are aware that the Sentencing Guidelines are no longer mandatory and are

thus considered advisory.

         The government presented to this Magistrate Judge and to defendant, assisted by

his counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the

commission of the offense, beyond a reasonable doubt. Counsel and defendant

acknowledged the evidence of the government was fully disclosed to them and previously

discussed between the two. Defendant was also read and shown a document entitled

“Statement of Facts”, which had been signed by defendant and his counsel and is attached

to the Agreement, wherein the signature of counsel for the government also appears.

Defendant was able to understand the explanation and agreed with the government’s

submission.

         Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

         Having once more ascertained that defendant has indicated not being induced to

plead guilty, and was entering such a plea because in fact he is guilty, without any promises

or predictions being made as to the sentence to be imposed by the court, defendant was

informed that parole has been abolished under the advisory Sentencing Reform Act and

that any sentence of imprisonment would be served, without him being released on parole.

Defendant was additionally informed that prior to sentence, the sentencing judge will have

a pre-sentence report and that it would be made available to him, to his counsel and to the
       Case 3:12-cr-00192-CCC                 Document 1146   Filed 03/17/14   Page 8 of 9



United States of America v. Yamil Ríos-Carrillo [49]
Criminal No. 12-192 (CCC)
Report and Recommendation
Page 8

government, so that they be allowed to correct or object to any information contained in

said report which was not accurate.

         Defendant was informed that he can appeal his conviction if he believes that his

guilty plea was somehow unlawful or involuntary or if there is some other fundamental

defect in the proceedings which was not waived by his guilty plea. Defendant was also

informed that he has a statutory right to appeal his sentence under certain circumstances

particularly if the sentence is contrary to law. With few exceptions, any notice of appeal

must be filed within fourteen (14) days of judgment being entered in the case. Defendant

was also apprised the right to appeal is subject to certain limitations allowed by law because

his Plea Agreement contains a waiver of appeal in paragraph nine (9) which was read to

defendant in open court. Defendant recognized having knowledge of the waiver of appeal,

discussing the same with his counsel and understanding its consequences. Defense counsel

acknowledged discussing the waiver of appeal and its consequences with his client.

         Defendant waived the reading of the Superseding Indictment in open court because

he is aware of its content, indicating he availed himself of the opportunity to further discuss

same with his attorney and then he positively stated that what was contained in Count

Three was what he had done and to which he was pleading guilty during these proceedings.

Thereafter, defendant expressed in no uncertain terms that he agreed with the

government’s evidence as to his participation in the offense. Thereupon, defendant

indicated he was pleading guilty to Count Three of the Superseding Indictment in Criminal

No. 12-192 (CCC).

         This Magistrate Judge after having explained to the defendant his rights,

ascertaining that he was acting freely and voluntarily to the waiver of such rights and in his
       Case 3:12-cr-00192-CCC                 Document 1146     Filed 03/17/14   Page 9 of 9



United States of America v. Yamil Ríos-Carrillo [49]
Criminal No. 12-192 (CCC)
Report and Recommendation
Page 9

decision of pleading guilty, with full knowledge of the consequences thereof, and there

being a basis in fact for such a plea, is recommending that a plea of guilty be entered as to

Count Three of the Superseding Indictment in Criminal No. 12-192 (CCC).

         IT IS SO RECOMMENDED.

         The sentencing hearing will be scheduled by Honorable Carmen C. Cerezo, District

Judge.

         San Juan, Puerto Rico, this 12th day of March of 2014.

                                                       s/ CAMILLE L. VELEZ-RIVE
                                                       CAMILLE L. VELEZ-RIVE
                                                       UNITED STATES MAGISTRATE JUDGE
